             Case 23-41293-bem                  Doc 2       Filed 09/06/23 Entered 09/06/23 12:48:56                             Desc Main
                                                            Document      Page 1 of 5
Fill in this information to identify your case:
Debtor 1           Heather Elizabeth Gopperton
                      First Name          Middle Name                 Last Name
Debtor 2
(Spouse, if filing)   First Name          Middle Name                 Last Name
                                                                                                                   Check if this is an amended plan, and
United States Bankruptcy Court for the NORTHERN DISTRICT OF GEORGIA                                                list below the sections of the plan that
                                                                                                                   have been changed. Amendments to
                                                                                                                   sections not listed below will be
                                                                                                                   ineffective even if set out later in this
Case number:                                                                                                       amended plan.
(If known)




Chapter 13 Plan
NOTE:                   The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use in Chapter 13
                        cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See Order Requiring Local Form for
                        Chapter 13 Plans and Establishing Related Procedures, General Order No. 41-2020, available in the Clerk’s Office and on
                        the Bankruptcy Court’s website, ganb.uscourts.gov. As used in this plan, “Chapter 13 General Order” means General
                        Order No. 41-2020 as it may from time to time be amended or superseded.

Part 1:       Notices

To Debtor(s):           This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that
                        the option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and
                        judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders otherwise.
                        The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                        3015.

                        To receive payments under this plan, you must have an allowed claim. If you file a proof of claim, your claim is deemed allowed
                        unless a party in interest objects. See 11 U.S.C. § 502(a).

                        The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be controlling,
                        unless the Bankruptcy Court orders otherwise.

                        The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                        not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                        checked, or if no box is checked, the provision will be ineffective even if set out later in the plan, except 1.4.

§ 1.1        A limit on the amount of a secured claim, that may result in a partial payment or no             Included                  Not Included
             payment at all to the secured creditor, set out in § 3.2
§ 1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                  Not Included
             set out in § 3.4
§ 1.3        Nonstandard provisions, set out in Part 8.                                                       Included                  Not Included

§ 1.4        The plan provides for the payment of a domestic support obligation (as defined in 11             Included                  Not Included
             U.S.C. § 101(14A)), set out in § 4.4.

Part 2:       Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1        Regular Payments to the trustee; applicable commitment period.


             The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (December 2020), Version 1.4                                                     Page 1 of 5
          Case 23-41293-bem                 Doc 2       Filed 09/06/23 Entered 09/06/23 12:48:56                              Desc Main
                                                        Document      Page 2 of 5
Debtor           Heather Elizabeth Gopperton                                              Case number


            Check one:            36 months                 60 months

          Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

The debtor(s) will pay $2,885.00 per month for the applicable commitment period. If the applicable commitment period is 36 months, additional
Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed 60 months unless the
Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable
commitment period, no further Regular Payments will be made.

Check if applicable.
  The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or reproduced.
   Insert additional lines as needed for more changes.):


§ 2.2     Regular Payments; method of payment.

          Regular Payments to the trustee will be made from future income in the following manner:

          Check all that apply:
                   Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the
                   trustee the amount that should have been deducted.

                   Debtor(s) will make payments directly to the trustee.

                   Other (specify method of payment):


§ 2.3     Income tax refunds.

          Check one.

                   Debtor(s) will retain any income tax refunds received during the pendency of the case.

                   Debtor(s) will (1) supply the trustee with a copy of each federal income tax return filed during the pendency of the case within
                   30 days of filing the return and (2) turn over to the trustee, within 30 days of the receipt of any federal income tax refund during
                   the applicable commitment period for tax years           , the amount by which the total of all of the federal income tax refunds
                   received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor's spouse is not a
                   debtor in this case, "tax refunds received" means those attributable to the debtor.

                   Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:


§ 2.4     Additional Payments.

          Check one.

                   None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5     [Intentionally omitted.]

§ 2.6     Disbursement of funds by trustee to holders of allowed claims.

          The trustee shall disburse funds in accordance with General Order No. 41-2020. (www.ganb.uscourts.gov/local-rules-and-orders)

Part 3:   Treatment of Secured Claims

§ 3.1     Maintenance of payments and cure of default, if any.

          Check one.

                   None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.


U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (December 2020), Version 1.4                                                 Page 2 of 5
          Case 23-41293-bem                   Doc 2        Filed 09/06/23 Entered 09/06/23 12:48:56                                 Desc Main
                                                           Document      Page 3 of 5
Debtor           Heather Elizabeth Gopperton                                                   Case number

§ 3.2     Request for valuation of security and modification of certain undersecured claims.

                     None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

§ 3.3     Secured claims to be paid in full.

          Check one.

                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

§ 3.4     Lien avoidance.

Check one.

                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5     Surrender of collateral.

          Check one.


                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

§ 3.6     Other Allowed Secured Claims.

          A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at
          the rate of 8.00 %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in
          interest, may: object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification
          of the claim is permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor’s lien pursuant to 11
          U.S.C. § 522(f), if applicable.

          If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured
          claim will be treated as an unsecured claim under Part 5 of this plan.

          The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

          (a) payment of the underlying debt determined under nonbankruptcy law, or

          (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11
          U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

Part 4:   Treatment of Fees and Priority Claims

§ 4.1     General.

          Trustee’s fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full
          regardless of whether it is listed in § 4.4.

§ 4.2     Trustee’s fees.

          Trustee’s fees are governed by statute and may change during the course of the case.

§ 4.3     Attorney’s fees.

          (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
          $ 3,333.00 . The allowance and payment of the fees, including the award of additional fees, expenses and costs of the attorney for the
          debtor(s) are governed by General Order 42-2020 (“Chapter 13 Attorney's Fees Order”), as it may be amended.

          (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent
          set forth in the Chapter 13 Attorney's Fees Order.

          (c) From the first disbursement after confirmation, the attorney will receive payment under the Chapter 13 Attorney's Fees Order up to the
          allowed amount set forth in § 4.3(a)

U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (December 2020), Version 1.4                                                         Page 3 of 5
          Case 23-41293-bem                   Doc 2       Filed 09/06/23 Entered 09/06/23 12:48:56                                 Desc Main
                                                          Document      Page 4 of 5
Debtor           Heather Elizabeth Gopperton                                                  Case number


          (d) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $ 2,000.00 per month from Regular
          Payments and (2) from Tax Refunds or Additional Payments, as set forth in the Chapter 13 Attorney's Fees Order until all allowed amounts
          are paid in full.

          (e) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the
          debtor(s) the amount of $ 0.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits. If the attorney
          for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney’s Fees Order, the trustee will deliver, from the
          funds available, the stated amount or the maximum amount to the attorney, whichever is less.

          (f) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
          $ 0.00 , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set forth
          in the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum
          amount within 14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of
          the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney

          (g) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the
          debtor(s), from the funds available, any allowed fees, expenses, and costs that are unpaid.

          (h) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any
          allowed fees, expenses, and costs that are unpaid.

§ 4.4     Priority claims other than attorney’s fees.

                    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.



Part 5:   Treatment of Nonpriority Unsecured Claims

§ 5.1     Nonpriority unsecured claims not separately classified.

          Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims
          will receive:

          Check one.

             A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

             A pro rata portion of the larger of (1) the sum of $        and (2) the funds remaining after disbursements have been made to all other
          creditors provided for in this plan.

             The larger of (1)      % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have
          been made to all other creditors provided for in this plan.

             100% of the total amount of these claims.

          Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims
          filed and allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee’s fees, costs, and expenses of the attorney
          for the debtor(s), and other priority claims under Part 4.

§ 5.2     Maintenance of payments and cure of any default on nonpriority unsecured claims.

          Check one.

                    None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3     Other separately classified nonpriority unsecured claims.

          Check one.

                    None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (December 2020), Version 1.4                                                      Page 4 of 5
            Case 23-41293-bem                  Doc 2       Filed 09/06/23 Entered 09/06/23 12:48:56                             Desc Main
                                                           Document      Page 5 of 5
Debtor              Heather Elizabeth Gopperton                                              Case number

Part 6:        Executory Contracts and Unexpired Leases

§ 6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
            contracts and unexpired leases are rejected.

            Check one.

                       None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:        Vesting of Property of the Estate

§ 7.1       Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in
            the debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon
            the completion of payments by the debtor(s).

Part 8:        Nonstandard Plan Provisions

§ 8.1       Check "None" or List Nonstandard Plan Provisions.

                       None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Part 9:        Signatures:

§ 9.1       Signatures of Debtor(s) and Attorney for Debtor(s).

            The debtor(s) must sign the initial plan and, if not represented by an attorney, any modification of the plan, below. The attorney for the
            debtor(s), if any, must sign below.

X       /s/ Heather Elizabeth Gopperton                                          X
        Heather Elizabeth Gopperton                                                   Signature of debtor 2 executed on
        Signature of debtor 1 executed on September 6,
                                          2023

        6141 Hwy 95
        Rock Spring, GA 30739
        Address                               City, State, ZIP code                   Address                                 City, State, ZIP code

X       /s/ Jeffrey B. Kelly                                               Date: September 6, 2023
        Jeffrey B. Kelly 412798
        Signature of attorney for debtor(s)

        Law Office of Jeffrey B. Kelly, P.C.                                       107 E. 5th Avenue
                                                                                   Rome, GA 30161
        Firm                                                                       Address                                    City, State, ZIP code

By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




U.S. Bankruptcy Court, N.D. Ga. Chapter 13 Plan Form (December 2020), Version 1.4                                                    Page 5 of 5
